Case 3:51-cv-01247-JO-SBC Document 1-4 Filed 01/25/51 PagelD.191 Page 1of1

UNITED STATES . STATE OF CALIFORNIA

S EARL WARREN, GOVERNOR OCEANSIDE QUADRANGLE a
ey DEPARTMENT OF THE INTERIOR , C. H. PURCELL, DIRECTOR OF PUBLIC WORKS CALIFORNIA-SAN DIEGO CO.
aye GEOLOGICAL SURVEY EDWARD HYATT, STATE ENGINEER 7.5 MINUTE SERIES (TOPOGRAPHIC)A *
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Mapped, edited, and published by the Geological Suvey © frrigation or camp supply SCALE. 1:24000 Sheet One (1) of E:ght (8) a,
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Polyconic projection. 1927 North American datum © Destroyed x Dg pg pe KILOMETER . Loose-surface, graded, or narrow hard-surflacew =
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landmark buildings are shown SHORELINE SHOWN REPReSENTS we, FRON LINE OF MEAN HIGH WATER . OCEANSIDE, CALIF.
DECLINATION, 184. THE AVERAGE RANGE OF TIDE 18 APPROSINATELY 4 FEET N3307.5—W11722.5/7.5

THIS MAP COMPLIES WITH NATIONAL MAP ACCURACY STANDARDS

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